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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF MAINE


UNITED STATES OF AMERICA                )
                                        )
v.                                      )
                                        )       NO. 2:10-CR-136-DBH-03
HASAN WORTHY,                           )
                                        )
                       DEFENDANT        )


                                        ORDER


      The defendant Hasan Worthy has filed a motion to dismiss the Fourth

Superseding Indictment in this case on the grounds that his right to a speedy

trial has been denied.       (ECF No. 618).     In footnote 1 of the government’s

response    to   the    defendant’s   motion,   (ECF   No.   622),   the    government

acknowledges that it has the burden of establishing the excludable time

pursuant to the Speedy Trial Act, but it did not provide the court with its

analysis.

      It is hereby ORDERED that the government provide the court and counsel

with its analysis no later than 5:00 p.m. on July 13, 2012.

      SO ORDERED.

      DATED THIS 12TH DAY OF JULY, 2012


                                                /S/D. BROCK HORNBY
                                                D. BROCK HORNBY
                                                UNITED STATES DISTRICT JUDGE
